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            EXHIBIT # 11
 Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 2 of 8 PageID #: 288


  From: We Serve Law LLC info@weservelaw.com
Subject: Re: New Serve - TBLACKBURN@TABLACKBURNLAW.COM
   Date: May 2, 2024 at 4:15 PM
     To: Tyrone Blackburn tblackburn@tablackburnlaw.com

      Please see attached affidavits of service. Originals will be mailed to you.

      Please do not hesitate to contact us should you need service of process NATIONWIDE.

      Thank you,


                                We Serve Law LLC
                                Nationwide Legal Services
                                p: 800-637-1805
                                w: weservelaw.com
                                e: info@weservelaw.com


      On Wed, May 1, 2024 at 8:07 PM We Serve Law LLC <info@weservelaw.com> wrote:
       Allow me to follow up with the server and I will get back to you with status.

                                   We Serve Law LLC
                                   Nationwide Legal Services
                                  p: 800-637-1805
                                  w: weservelaw.com
                                  e: info@weservelaw.com


        On Wed, May 1, 2024 at 7:55 PM Tyrone Blackburn <tblackburn@tablackburnlaw.com> wrote:
         Following up. Please provide the affidavit of service

          Regards,

          Tyrone A. Blackburn, Esq.
          T. A. Blackburn Law, PLLC.
          Phone: 347-342-7432
          TABlackburnlaw.com

             On Apr 5, 2024, at 9:59 PM, We Serve Law LLC <info@weservelaw.com> wrote:

             Hello Tyrone,

             We are in receipt of the documents, 217 pages to be served on:

             UNITED PARCEL SERVICE GENERAL SERVICES CO.
             C/O CORPORATION SERVICE COMPANY
             80 STATE STREET
             ALBANY, NY 12207

             Here is a link to the invoice: https://www.paypal.com/invoice/p/#92WP7XHWH6E5424D
             As soon as it's paid we will dispatch for prompt service.

             We will update you upon completion of service and a copy of the notarized affidavit of service will be emailed and the original
             mailed to you.

             Any questions, please do not hesitate to ask.

             Thank you,

                                       We Serve Law LLC
                                       Nationwide Legal Services
                                       p: 800-637-1805
Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 3 of 8 PageID #: 289


                              w: weservelaw.com
                              e: info@weservelaw.com


        On Fri, Apr 5, 2024 at 9:53 PM TBLACKBURN <noreply@123formbuilder.com> wrote:
           Name                                    TYRONE ANTHONY BLACKBURN
           Email                                   TBLACKBURN@TABLACKBURNLAW.COM

           Service                                 Priority $100
           Name and Address of Person or           UNITED PARCEL SERVICE GENERAL SERVICES CO.
           Entity to be Served                     C/O CORPORATION SERVICE COMPANY
                                                   80 STATE STREET
                                                   ALBANY, NY, 12207

           Special Instructions
           File Upload                             https://app.123formbuilder.com/upload_dld.php?
                                                   fileid=d075f8c9975008d277bc73fde1ced2d0

          The message has been sent from 70.15.18.89 (United States) at 2024-04-05 21:53:04 on Chrome 123.0.0.0
          Entry ID: 15144
        <Filed Case. 503173_2024_ROY_WELSH_v_UNITED_PARCELS_SERVICE_INC_et_al_SUMMONS___COMPLAINT_1.pdf>
        <Daniel Moyel-502752_2024_DANIEL_MOYLE_v_UNITED_PARCELS_SERVICE_INC_SUMMONS___COMPLAINT_1.pdf>
        <Filed Complaint-
        509532_2024_TRAVIS_STEELE_v_UNITED_PARCELS_SERVICE_INC__SUMMONS___COMPLAINT_1.pdf><Fari Murray-
        502791_2024_FARI_MURRAY_v_UNITED_PARCELS_SERVICE_INC_et_al_SUMMONS___COMPLAINT_1.pdf><Daniel
        Moyel-503187_2024_DANIEL_MOYLE_et_al_v_DANIEL_MOYLE_et_al_SUMMONS___COMPLAINT_1.pdf>




       We Serve
    Affirma…(1).pdf
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  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF KINGS

  DANIEL MOYLE, ROY WELSH, CARLOS PALAGUAGHI, et al.,                            Plaintiff(s) - Petitioner(s)


  V.                                                                             INDEX NO.: 503187/2024


  UNITED PARCELS SERVICE, INC.,                                                   Defendant(s) - Respondent(s)

  STATE OF NEWYORK
  COUNry OF RENSSELAER              SS.:


 John Habermehl, the undersigned, being duly sworn, deposes and says that lwas at the time of service over the
  age of '18 years and not a party to this action.

  On 0510212024 at 11:39 AM, I served a true copy of a DEMAND FOR JURY TRIAL CLASS ACTION
  COMPLAINT UNDER N.Y. CPLR S 901, CERTIFICATE OF MERIT, ATTORNEY VERIFICATION upon UNITED
  PARCEL SERVICE GENERAL SERVICES CO. C/O CORPORATION SERVICE COMPANY at 80 STATE
  STREET, ALBANY, NY 12207 in the manner indicated below:

   Corporation By delivering a true copy of each to JOHN DOE (REFUSED TO PROVIDE NAME)
   IXI         personally. Deponent knew said corporation served to be the corporation described as the
                       named recipient and knew said individual to be the AUTHORIZED REPRESENTATIVE
                       thereof, and an authorized person to accept service of process.

   Approximate         Male          White           Red       40-50          5',10"        200 lbs
   Description of
   Receipt             Sex           Skin            Hair Color Age           Height Weight                Other




  I affirm o" S /Jl              ,2,eAunder the penalties of perjury under the laws of New York, which
  mayinclude-afrneorimprisonment3attheEregoingistiue,andlundqrstjndthatthisdocumentmaybefiledin
  an action or proceeding in a court of law.


                                                                      John
                                                                      52 Graw Rd.
                                                                      Nassau, NY 12123
                                                                      800-637-1 805
Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 5 of 8 PageID #: 291



  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF KINGS

  FARI MURRAY,
                                                                                   Plaintiff(s) - Petitioner(s)

  V.
                                                                                   INDEX NO.:502791t2024


  UNITED PARCELS SERVICE, INC.,
  ANd WILLIAM GREY,
                                                                                   Defendant(s) - Respondent(s)

 STATE OF NEW YORK
 COUNry OF RENSSELAER               SS,:

 John Habermehl, the undersigned, being duly sworn, deposes and says
                                                                             that I was at the time of service over the
 age of '18 years and not a party to this action.

 on 0510212024 al ll:39 AM, I served a true copy of a sUMMoNS, DEMAND FoR JURY
                                                                                TRTAL COMPLAINT,
 CERTIFICATE OF MERIT, ATTORNEY VEHIFICATION UPON
                                                               UNITED PARCEL SERVICE GENERAL
 SERVICES co' c/o coRPoRATloN SERVICE COMPANY at 80
                                                              STATE STREET, ALBANy, Ny 12207                        in the
 manner indicated below;

  Corp-oration By delivering a true copy of each to JoHN DoE (REFUSED To pRovtDE NAME)
  IxI          personally' Deponent knew said corporation served to be the
                                                                           described as the
                     named recipient and knew said individual to be the AUTHORTZED
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                                                                                      REPRESENTATIVE
                     thereof, and an authorized person to accept service of process.

  Approximate        Male           White           Red        40-50          5',10"         200 lbs
  Description of
  Receipt            Sex            Skin            HairGtor   Age            Height         Weight         Other




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              = fine or imprisonment, that theTdregoing is true, and I understind that this document may be filed in
 an action or proceeding in a court of law




                                                                             Rd.
                                                                     Nassau, NY 12123
                                                                     800-637-1 805
Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 6 of 8 PageID #: 292



     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF K]NGS

     TRAVIS STEELE,
                                                                                    Plaintiff(s) - petitioner(s)

     V.
                                                                                INDEX NO.: 509532/2024


     UNITED PARCELS SERVICE, INC.,
                                                                                Defendant(s) - Respondent(s)

     STATE OF NEW YORK
     COUNTY OF RENSSELAER

 John Habermehl, the undersigned, being duly sworn, deposes and
                                                                       says that I was at the time of service over the
 age of 18 years and not a party to this action.

 on 0510212024 at 11:39 AM, I served a true copy of a sUMMoNs, DEMAND FoR
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 CERTIFICATE OF MERlr, ATTORNEY VEdIF|CAT|ON ,pon',
                                                               uNtreo pARcEL sERVtcE GENERAL
 SERVICES GO' C/O CORPORATION SERVICE COMPANY at 80
                                                    STATE STREET, ALBANy, Ny 12207 in the
 manner indicated below.

     corporation By delivering a true copy of each to JOHN DoE (REFUSED To pRovtDE NAME)
     tXI         personally. Deponent knew said corporation served to be the
                                                                             corporation described as the
                      named recipient and knew said individual to be the AUTHoRIZED REPRESENTATIVE
                      thereof, and an authorized person to accept service of process.

     Approximate      Male          White          Red        40-50          5'10"            200 lbs
     Description of
     Receipt          Sex           Skin           Hair Color Age            Height          Weight         Other




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 an action or proceeding in a court of law.



                                                                    John
                                                                    52 Graw Rd.
                                                                    Nassau, NY 12123
                                                                    800-637-1 805
Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 7 of 8 PageID #: 293



  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF KINGS

  DANIEL MOYLE,                                                                 Plai ntiff(s) - Petitioner(s)



  V.                                                                            INDEX NO.:50275212024


  UNITED PARCELS SERVICE, INC.,                                                 Defendant(s) - Respondent(s)

  STATE OF NEWYORK
  COUNry OF RENSSELAER SS.:

  John Habermehl, the undersigned, being duly sworn, deposes and says that I was at the time of service over the
  age of '18 years and not a party to this action.

  On 0510212024 al 11:39 AM, I served a true copy of a SUMMONS, DEMAND FOR JURY TRIAL COMPLAINT,
  CERTIFICATE OF MERIT, ATTORNEY VERIFICATION upon UNITED PARCEL SERVICE GENERAL
  SERVICES CO. C/O CORPORATION SERVICE COMPANY at 80 STATE STREET, ALBANY, NY 12207 in the
  manner indicated below:

   Corporation By delivering a true copy of each to JOHN DOE (REFUSED TO PROVIDE NAME)
   tXI         personally. Deponent knew said corporation served to be the corporation described as the
                       named recipient and knew said individual to be the AUTHORIZED REPRESENTATIVE
                       thereof, and an authorized person to accept service of process.

   Approximate         Male          White           Red       40-50         5',10" 200 lbs
   Description of
   Receipt             Sex           Skin            Hair Color Age          Height Weight                Other




  I affirm
           "^  f,(d,.      ,2d{-under the penalties of perjury under the laws of New York, which
  mayincludeffiatthE%regoingistrue,andlunderstandthatthisdocumentmaybefiledin
  an action or proceeding in a court of law.


                                                                      John
                                                                      52 Graw
                                                                      Nassau, NY 12123
                                                                      800-637-1 805
Case 1:24-cv-03880-LDH-LKE Document 8-12 Filed 06/19/24 Page 8 of 8 PageID #: 294



  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF KINGS

  ROY WELSH,                                                                     Plaintiff(s) - Petitioner(s)


  V.                                                                             INDEX NO.: 503173/2024


  UNITED PARCELS SERVICE, lNC., et at.,                                          Defendant(s) - Respondent(s)

  STATE OF NEW YORK
  COUNTY OF RENSSELAER SS..

  John Habermehl, the undersigned, being duly sworn, deposes and says that I was at the time of service over the
  age of 18 years and not a party to this action.

  On 0510212024 at 11:39 AM, I served a true copy of a SUMMONS, DEMAND FOR JURY TRIAL COMPLAINT,
  CERTIFICATE OF MERIT, ATTORNEY VERIFICATION upon UNITED PARCEL SERVICE GENERAL
  SERVICES GO. C/O CORPORATION SERVICE COMPANY at 80 STATE STREET, ALBANY, NY 12207 in the
  manner indicated below:

   Corporation By delivering a true copy of each to JOHN DOE (REFUSED TO PROVIDE NAME)
   txI                personally. Deponent knew said corporation served to be the corporation described as the
                      named recipient and knew said individual to be the AUTHORIZED REPRESENTATIVE
                      thereof, and an authorized person to accept service of process.

   Approximate        Male           White          Red          40-50        5'10"         200 lbs
   Description of
   Receipt            Sex            Skin           Hair Color Age            Height Weight                Other



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  I affirm           I                    , zo}vlunaer the penatties              under the laws of New York, which
  may  inctuaffiat                           ttre%regoing is tiue, and I           that this document may be filed in
  an action or proceeding in a court of law.


                                                                     John

                                                                      Nassau, NY 12123
                                                                      800-637-1 805
